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   1 Michael McCarron, in pro per
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   5
                                UNITED STATES DISTRICT COURT
   6
                         FOR THE CENTRAL DISTRICT OF CALIFORNIA
   7

   8
       SOUTHWEST REGIONAL COUNCIL OF                Case No. No. CV 14-02762 JVS (JCx)
   9   CARPENTERS, et al.
                                                ~ DEFENDANT AND CROSS-CLAIMANT
  10               Plaintiff,                     MICHAEL MCCARRON'S OBJECTIONS
                                                  TO COST BILL
  11         vs.
                                                    The Honorable James V. Selna
  12 MICHAEL MCCARRON, et al.,
                                                    Court Room: lOC
  13
                   Defendants
  14

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                                                                                      r.     b
  16                                                                                          ..c►


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                                      OBJECTION TO COST BILL
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   1          Defendant and Cross-Claimant Michael McCarron("McCarron")hereby submits the following

   2   objections to the Bill of Costs(`BOC")filed by Plaintiff/Defendant Southwest Regional Council of

   3   Carpenters("S WRCC")and third party Defendant Decarlo & Shanley("D&S")pursuant to LR 54-2.2

   4   on the following grounds, each and all:

   5   Objection 1:

   6          The Bill of Costs is submitted by both SWRCC and D&S, yet the BOC makes no

   7   distinction or otherwise provides no explanation which costs were incurred by SWRCC
   8   and which costs were incurred by D&S. Given the differing status of the parties,
   7 clearly, each incurred different costs, yet they have sought to simply place all costs
  10   within the same document, making it impossible to determine which costs are
  11   legitimately applicable to which party. This alone should result in a complete denial
  12   of all costs.
  13

  14 ~ Objection 2:

  15          McCarron objects to all fees for delivering documents to the Federal Court or
  16   specific Judges as found on Pages 6-8,20-41. LR 54-3.10 allows for the cost ofcopies
  17 for mandatory chambers copies,it does not permit recovery ofthe cost ofmessengering

  18   or otherwise delivering the copies to the Court. It should also be noted Pages 20-41 are
  19   rife with unrecoverable costs including "rush" fees, fuel surcharges, same day service
  ~~l fees, advance fees and surcharges therefor, "hot" delivery fees, "exclusive" delivery
  21   fees, and "Research on demand" fees. McCarron contends the entire $5,509.91 must
  22   be denied
  23

  24   Objection 3:
  25          McCarron objects to "rush" fees found on pages 9 ($27.00), 10 ($54.00); 11
  26 ($27.00); 12($27.00)and waiting time for service at $52.00 an hour which is patently

  27   unreasonable ($312.00)[see LR 54-3.6]; 13 ($27.00); 14 ($27.00) also $52.00/hour
  28   waiting time($364)[see LR 54-3.6]; 15 ($54.00), 16($27.00); 18($26.00 "wait time

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   1 ~ charge")

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   3 ~ Objection 4:

   4         This appears to be a Bank ofAmerica reimbursement for documents subpoenaed,
   5 ~ but there is no explanation of what these documents are, whether they were reasonable

   6 ~ or necessary or even used in the litigation, in violation ofLR 54-3.10(b)(g). The entire

   7 $1,230.00 sought must be denied.

   8

   9 ~ Objection 5:

  10         Pursuant to LR 54-3.5 McCarron objects to all ofthe deposition costs sought, at
  11 ~ the outset, LR 54-3.5 states:

  12         The cost of videotaping or recording depositions is not taxable unless recording
             the deposition by video or audio means was ordered by the Court before taking
  13         the deposition. Failure to provide itemized invoices breaking out the per-
             pa~e cost of transcripts from other costs such as expediting, binding or
  14         shipping fees, will be sufficient grounds for not taxing the cost (Emphasis
             added),
  15
             Therefore, McCarron objects to all ofthe following deposition costs sought, on
  16
       the following grounds, each and all under LR 54-3.5;
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             1. Benjamin Rodriguez deposition gage 49~: Objections—l. No itemized
  18
       statement ofper-page cost versus other costs; 2. Deposition includes synchronization;
  19
       3. Finance charges also included which are not permitted.
  20
             2. Michael Olds deposition (12/10/2014)(Pale 50~: Objections-1. No itemized
  21
       statement of per-page cost versus other costs; 2. Deposition includes synchronization;
  22
       3. Finance charges also included which are not permitted; 4. Deposition charged
  23
       expedited fee
  24
             3. Kathryn McCarron deposition X12/10/2014~(Page 51~: Objections-1. No
  25
       itemized statement of per-page cost versus other costs; 2. Deposition includes
  26
       synchronization; 3. Finance charges also included which are not permitted; 4.
  27
       Deposition is videotaped; 5. Deposition charged expedited fee.
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   1         4. Yasmin Aguilar deposition(~a~~: Objections-1. No itemized statement
   2 of per-page cost versus other costs; 2. Deposition is video taped; 3. Finance charges
   3 I ~ also included which are not permitted; 4. Deposition also charged expedite fee
   4         5. Michelle McCarron deposition (Pa~,e 53~: Objections—l. No itemized
   5 ~ statement ofper-page cost versus other costs; 2. Deposition includes synchronization;
   6 3. Finance charges also included which are not permitted; 4. Deposition is video taped;
   7 5. Deposition is expedited
   8         6. Kathryn McCarron second deposition Page 54~: Objections-1. No itemized
   9 ~ statement of per-page cost versus other costs; 2. Deposition includes synchronization;
  10 3. Deposition is video taped; 4. Deposition is expedited.
  11         7. Amy Gorton deposition (~a~e 55~: Objections-1. No itemized statement of
  12 ~ per-page cost versus other costs; 2. Deposition is video taped.
  13         8. Michael McCarron deposition(Page 56~: Objections-1.No itemized statement
  14 of per-page cost versus other costs; 2. Deposition includes synchronization; 3.
  15 Deposition is video taped; 4. Deposition is expedited
  16         9. Certified copy of Gordon Huber deposition Page 57-58~: Objections-1.
  17 ~ $355.47 "50% expedite" fee; 2. $500 fee for "synced dvd"
  18         Therefore, pursuant to LR 54-3.5 the entire $19,995.47 sought for deposition
  19 costs must be denied.
  20
  21 DATED: January 30, 2019
  22                                                 BY:
                                                            Michael McCarron, Defendant in
  23                                                        pro per
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   1                                PROOF OF SERVICE BY MAIL

   2
       STATE OF CALIFORNIA               )
   3   COUNTY OF V~rvt'✓NA               )

   4
                      reside in the County of Ventura, State of California. I am over the age of 18
   5   years and not a party to this action; my address is 5575 Bromely Drive, Oak Park, California
       91377
   6
                    On January 30,2019, I served the foregoing document described as MOTION
   7   Objection to Bill of Costs on the interested parties in this action by placing a true copy
       thereof enclosed in a sealed envelope in the United States mail at Oak Park, California,
   8   addressed as follows:

   9                       DeCarlo & Shanley
                           533 South Fremont Ave., 9th Floor
  10                       Los Angeles, CA 90071

  11 X Via U.S. Mail: I am "readily familiar" with the practice of collection and processing
     correspondence for mailing. Under that practice it would be deposited with the U.S. postal
  12 service on that same day with postage thereon fully prepaid at Oak Park, California in the
     ordinary course of business. I am aware that on motion of the party served, service is
  13 presumed invalid if postal cancellation date or postage meter date is more than one day after
     date of deposit for mailing in affidavit.
  14
                    declare under penalty of perjury under the laws of the United States that the
  15 above is true and correct.

  16                Executed January 30, 2019 at Oak Park, California.

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                                          OBJECTION TO COST BILL
